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Attorneys for Defendants Raúl Labrador and
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Commission


                    UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF IDAHO

PAM POE, by and through her parents and
next friends, et al.,                              Case No. 1:23-cv-00269-BLW
               Plaintiffs,
                                                   NOTICE OF WITHDRAWAL
                                                   OF COUNSEL
v.
RAÚL LABRADOR, in his official capacity as
Attorney General of the State of Idaho, et al,
               Defendants.




                                                 NOTICE OF WITHDRAWAL OF COUNSEL – 1
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      NOTICE IS HEREBY GIVEN that Deputy Attorney General Lincoln Davis

Wilson, co-counsel for Defendants Raúl Labrador and Individual Members of the

Idaho Code Commission, hereby withdraws as an attorney of record for Defendants

Raúl Labrador and Individual Members of the Idaho Code Commission and requests

that his name be removed as an attorney of record. The remaining named counsel of

record will continue as counsel for Defendants Raúl Labrador and Individual

Members of the Idaho Code Commission.

      DATED: October 6, 2023.

                                     STATE OF IDAHO
                                     OFFICE OF THE ATTORNEY GENERAL


                                  By:   /s/ Lincoln Davis Wilson
                                          LINCOLN DAVIS WILSON
                                          Chief, Civil Litigation and
                                          Constitutional Defense




                                              NOTICE OF WITHDRAWAL OF COUNSEL – 2
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on October 6, 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which sent a Notice of
Electronic Filing to the following persons:

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                                        /s/ Lincoln Davis Wilson
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                                               NOTICE OF WITHDRAWAL OF COUNSEL – 3
